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 9
10                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
11
12   JOHN MURRIN, individually and on           ) Case No. 3:24-cv-1259
13   behalf of all others similarly situated,   )
                                                ) CLASS ACTION COMPLAINT
14   Plaintiff,                                 )
15                                              )
            vs.                                 )    1. Violations of Electronic
16                                                         Funds Transfer Act, 15
                                                )          U.S.C. §1693 et seq.;
17   NEUTRON HOLDINGS, INC. d/b/a               )    2. Violations of California
     LIME, and DOES 1-10,                       )          Business and Professions
18                                                         Code § 17200, et seq.;
                                                )    3. Violations of California
19   Defendant(s).                              )          Business and Professions
20                                              )          code § 17600, et seq.
                                                )
21
                                                )
22                                              )
23
                                                )
                                                )
24                                              )
25          Plaintiff JOHN MURRIN (“Plaintiff”), on behalf of himself and all others
26   similarly situated, allege the following against Defendant NEUTRON
27   HOLDINGS, INC. upon information and belief based upon personal knowledge:
28



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 1                                      INTRODUCTION
 2           1.       Plaintiff’s Class Action Complaint is brought pursuant to the
 3   Electronic Funds Transfer Act, 15 U.S.C. 1693 et seq. (“EFTA”) and the California
 4   Automatic Purchase Renewal Statute Cal. Bus. & Prof. Code § 17600, et seq.
 5   (“CAPRS”).
 6
             2.       Plaintiff, individually, and on behalf of all others similarly situated,
 7
     bring this Complaint for damages, injunctive relief, and any other available legal
 8
     or equitable remedies, resulting from the illegal actions of Defendant debiting
 9
     Plaintiff’s and also the putative Class members’ bank accounts on a recurring basis
10
     without obtaining a written authorization signed or similarly authenticated for
11
     preauthorized electronic fund transfers from Plaintiffs’ and also the putative Class
12
     members’ accounts, thereby violating Section 907(a) of the EFTA, 15 U.S.C. §
13
14
     1693e(a), and Section 205.10(b) of Regulation E, 12 C.F.R. § 205.l0(b).

15   Additionally, Defendant failed to properly inform consumers of its autorenewal

16   terms, thereby violating Cal. Bus. & Prof. Code § 17600 et. seq. Defendant fails
17   to clearly and conspicuously disclose the terms of its autorenewal and additionally
18   conditions its purchase on an illegal “negative option” as defined by 15 U.S.C. §
19   8403.
20           3.       Plaintiff alleges as follows upon personal knowledge as to themselves
21   and their own acts and experiences, and, as to all other matters, upon information
22   and belief, including investigation conducted by their attorneys.
23                               JURISDICTION AND VENUE
24           4.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§
25
     1331 and 1367 in that this matter arises under a federal statute, namely the
26
     Electronic Funds Transfer Act, 15 U.S.C. § 1693, et seq. Moreover, Plaintiff’s
27
     claims under California state law are so related to his claims under the Electronic
28
     Funds Transfer Act that they are part of the same case or controversy.

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 1         5.       Venue in this Court is proper because Defendant maintains its
 2   principal place of business within this judicial district.
 3                                         PARTIES
 4         6.       Plaintiff, JOHN MURRIN (“Plaintiff”), is a natural person residing
 5   in Los Angeles County in the state of California, and is a “consumer” as defined
 6   by 15 U.S.C. §1693a(6) and a “person” as defined by Cal. Bus. & Prof. Code §
 7   17201.
 8
           7.       At all relevant times herein, Defendant, NEUTRON HOLDINGS,
 9
     INC. (“Defendant”), was a Delaware company with its principal place of business
10
     in San Francisco, California, engaged in the business of renting out scooters to
11
     consumers, including those in California such as Plaintiff.
12
           8.       The above-named Defendant, and its subsidiaries and agents, are
13
     collectively referred to as “Defendants.” The true names and capacities of the
14
     Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
15
16
     currently unknown to Plaintiffs, who therefore sues such Defendants by fictitious

17   names. Each of the Defendants designated herein as a DOE is legally responsible

18   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend
19   the Complaint to reflect the true names and capacities of the DOE Defendants
20   when such identities become known.
21         9.       Plaintiff is informed and believes that at all relevant times, each and
22   every Defendant was acting as an agent and/or employee of each of the other
23   Defendants and was acting within the course and scope of said agency and/or
24   employment with the full knowledge and consent of each of the other Defendants.
25   Plaintiff is informed and believes that each of the acts and/or omissions
26   complained of herein was made known to, and ratified by, each of the other
27
     Defendants.
28
     ///


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 1                              FACTUAL ALLEGATIONS
 2         10.      In or around 2017, Plaintiff downloaded Defendant’s app and rented
 3   a scooter.
 4         11.      After that time, Plaintiff never again used Defendant’s app and never
 5   rented another scooter or bike from Defendant.
 6
           12.      Despite this, beginning in or around June of 2023, Defendant began
 7
     debiting Plaintiff’s checking account for various charges, including, but not limited
 8
     to, a $6.60 monthly membership fee.
 9
           13.      At no time did Defendant disclose to Plaintiff that it would debit
10
     Plaintiff’s account for these amounts. Moreover, at no time did Plaintiff authorize
11
     Defendant to debit his checking account.
12
           14.      Plaintiff has contacted Defendant on numerous occasions to ask
13
14
     Defendant to stop charging him without his permission.

15         15.      Defendant, however, continues to debit Plaintiff’s account.

16         16.      Plaintiff cancelled his debit card with his bank in hopes that doing so
17   would stop Defendant from charging him.
18         17.      However, Defendant continued to directly debit Plaintiff’s checking
19   account.
20         18.      Plaintiff has changed his account information in Defendant’s app, yet
21   Defendant continues to charge Plaintiff these recurring monthly charges, among
22   other charges.
23         19.      When Plaintiff tried to cancel the recurring payments, he called
24   Defendant multiple times for multiple charges and was told each time that he called
25
     that Plaintiff should submit the evidence of the erroneous charges via email to
26
     Defendant, and the response back from Defendant to Plaintiff was that Plaintiff did
27
     not have an active account thus Plaintiff could not receive a refund.
28
           20.      Defendant did not send any additional correspondence to Plaintiff

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 1   confirming the written terms of any auto-withdrawal or further explanation.
 2         21.    Pursuant to 15 U.S. Code § 8403, it is unlawful to charge or attempt
 3   to charge any consumer for any goods or services sold in a transaction effected on
 4   the Internet through a negative option feature unless the “text that clearly and
 5   conspicuously discloses all material terms of the transaction before obtaining the
 6
     consumer’s billing information,” “obtains a consumer’s express informed consent
 7
     before charging the consumer’s credit card, debit card, bank account, or other
 8
     financial account for products or services through such transaction;” and “provides
 9
     simple mechanisms for a consumer to stop recurring charges from being placed on
10
     the consumer’s credit card, debit card, bank account, or other financial account.”
11
           22.    Defendant’s billing scheme as described herein failed to satisfy all
12
     three prongs, any of which is fatal and unlawful. At no time did Defendant inform
13
14
     Plaintiff and those similarly situated that it would assess recurring monthly charges

15   to their checking accounts. Accordingly, Defendant failed to obtain a consumer’s

16   express informed consent to make such charges.            Further, while Defendant
17   accepted transactions through the Internet, Defendant has not honored requests to
18   cancel such recurring charges in any form.
19         23.    Because Defendant failed to conspicuously disclose all material terms,
20   it also failed to obtain Plaintiff’s express informed consent for the recurring
21   electronic fund transfers it thereafter made.
22         24.    Further, Defendant did not provide to Plaintiff, nor did Plaintiff
23   execute, any written or electronic writing memorializing or authorizing these
24   recurring or automatic payments.
25
           25.    Plaintiff alleges such activity to be in violation of the Electronic Funds
26
     Transfer Act, 15 U.S.C. 1693 et seq. (“EFTA”), and its surrounding regulations,
27
     including, but not limited to, 12 C.F.R. §§1005.7, 1005.8, and 1005.9.
28
           26.    Plaintiff alleges such activity to be in violation of California’s

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 1   Automatic Purchase Renewal Statute Cal. Bus. & Prof. Code § 17600, et seq.
 2   (“CAPRS”), and its surrounding regulations.
 3         27.    At all times relevant, Defendant made and continues to make
 4   automatic renewal offers and continuous service offers, as those terms are defined
 5   by Cal. Bus. & Prof. Code § 17600, et seq. (“California’s Automatic Purchase
 6
     Renewal Statute”) to Plaintiff and other consumers similarly situated.
 7
           28.    Defendant failed to present Defendant’s automatic renewal offer terms
 8
     or continuous service offer terms in a clear and conspicuous manner, as defined by
 9
     California’s Automatic Purchase Renewal Statute, before the subscription or
10
     purchasing agreement was fulfilled, and in visual or temporal proximity to
11
     Defendant’s request for consent to the offer.
12
           29.    Defendant charged Plaintiff for an automatic renewal offer without
13
14
     first obtaining Plaintiff’s affirmative consent to the agreement containing the

15   automatic renewal offer terms or continuous service offer terms.

16         30.    Further, Defendant never provided Plaintiff with information
17   regarding how to cancel in a manner that was capable of being retained by Plaintiff.
18   Defendant has refused to honor Plaintiff’s requests that it stop charging him.
19         31.    On information and belief, Plaintiff alleges that Defendant’s policy
20   and practice is to engage in illegal and deceptive billing practices to unfairly
21   surprise consumers with numerous recurring transactions.
22         32.    The material circumstances surrounding this experience by Plaintiff
23   were the same, or nearly the same, as the other class members Plaintiff proposes to
24   represent, and Plaintiff and all putative class members were required to pay, and
25
     did pay, money for the services marketed and sold by Defendant.
26
                           CLASS ACTION ALLEGATIONS
27
           33.    Plaintiff brings this action on behalf of himself and all others similarly
28
     situated, as members of two proposed classes (jointly “The Classes”). The first

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 1   Class (hereafter “The EFTA Class”) defined as follows:
 2                All persons in the United States whose bank accounts
                  were debited on a reoccurring basis by Defendant
 3                without obtaining a written authorization signed or
 4                similarly authenticated for preauthorized electronic fund
                  transfers within the one year prior to the filing of this
 5
                  Complaint.
 6
           34.      The second Class (hereafter “the CAPRS Class”) is defined as
 7
     follows:
 8                  All persons in California who were charged on a
 9                  reoccurring basis by Defendant without Defendant
                    providing clear and conspicuous notice of the recurring
10
                    charges, including information on how to cancel
11                  Defendant’s services within the four years prior to the
12
                    filing of this Complaint.

13
           35.      Plaintiff represents, and is a member of The EFTA Class, consisting

14   of all persons within the United States whose bank account was debited on a

15   recurring basis by Defendant without Defendant obtaining a written authorization
16   signed or similarly authenticated for preauthorized electronic fund transfers within
17   the one year prior to the filing of this Complaint.
18         36.      Plaintiff represents, and is a member of The CAPRS Class, consisting
19   of all persons in California whose bank accounts were debited on a reoccurring
20   basis by Defendant without Defendant providing clear and conspicuous notice of
21   the charges, including information on how to cancel Defendant’s services within
22   the four years prior to the filing of this Complaint.
23         37.      Defendant, its employees and agents are excluded from The Classes.
24
     Plaintiff does not know the number of members in The Classes, but believe the
25
     Classes members number in the thousands, if not more. Thus, this matter should
26
     be certified as a Class Action to assist in the expeditious litigation of the matter.
27
           38.      The Classes are so numerous that the individual joinder of all of their
28



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 1   members is impractical. While the exact number and identities of The Classes
 2   members are unknown to Plaintiff at this time and can only be ascertained through
 3   appropriate discovery, Plaintiff is informed and believe and thereon allege that The
 4   Classes includes thousands of members.          Plaintiff alleges that The Classes
 5   members may be ascertained by the records maintained by Defendant.
 6
           39.    This suit is properly maintainable as a class action because the Classes
 7
     are so numerous that joinder of the Classes members is impractical and the
 8
     disposition of their claims in the class action will provide substantial benefits both
 9
     to the parties and to the Court.
10
           40.    There are questions of law and fact common to the EFTA Class
11
     affecting the parties to be represented. The questions of law and fact to the EFTA
12
     Class predominate over questions which may affect individual EFTA Class
13
14
     members and include, but are not necessarily limited to, the following:

15                     a. The members of the Class were not provided with, nor did

16                         they execute, written agreements memorializing the
17                         automatic or recurring electronic payments.
18                     b. Defendant did not request, nor did it provide, Class members
19                         with written agreements memorializing the automatic or
20                         recurring electronic payments.
21                     c. The members of the Class did not provide either a written
22                         (“wet”) or otherwise electronic signature authorizing the
23                         automatic or recurring electronic payments.
24                     d. Despite not providing written or electronic authorization for
25
                           payments to be drawn from their accounts, Defendant took
26
                           unauthorized payments from Class members’ accounts.
27
           41.    There are questions of law and fact common to the CAPRS Class
28
     affecting the parties to be represented. The questions of law and fact to the CAPRS

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 1   Class predominate over questions which may affect individual CAPRS Class
 2   members and include, but are not necessarily limited to, the following:
 3                a. Whether Defendant failed to clearly and conspicuously disclose
 4                    the terms of its auto-renewal charges prior to making such charges
 5                    to Class members’ cards;
 6
                  b. Whether Defendant failed to obtain informed express consent for
 7
                      such charges;
 8
                  c. Whether Defendant filed to provide a simple method by which
 9
                      Class members could cancel their auto-withdrawals; and
10
                  d. Whether Defendant failed to provide information to Plaintiff and
11
                      Class Members regarding how to cancel in a manner that is
12
                      capable of being retained by the consumer.
13
14
           42.    As a person whose bank account was debited on a reoccurring basis

15   by Defendant without Defendant obtaining a written authorization signed or

16   similarly authenticated for preauthorized electronic fund transfers, Plaintiff is
17   asserting claims that are typical of The Classes.
18         43.    Plaintiff will fairly and adequately protect the interests of the members
19   of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
20   class actions.
21         44.    A class action is superior to other available methods of fair and
22   efficient adjudication of this controversy, since individual litigation of the claims
23   of all Classes members is impracticable. Even if every Classes member could
24   afford individual litigation, the court system could not. It would be unduly
25
     burdensome to the courts in which individual litigation of numerous issues would
26
     proceed. Individualized litigation would also present the potential for varying,
27
     inconsistent, or contradictory judgments and would magnify the delay and expense
28
     to all parties and to the court system resulting from multiple trials of the same

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 1   complex factual issues. By contrast, the conduct of this action as a class action
 2   presents fewer management difficulties, conserves the resources of the parties and
 3   of the court system, and protects the rights of each Class member.
 4         45.    The prosecution of separate actions by individual Classes members
 5   would create a risk of adjudications with respect to them that would, as a practical
 6
     matter, be dispositive of the interests of the other Classes members not parties to
 7
     such adjudications or that would substantially impair or impede the ability of such
 8
     non-party Classes members to protect their interests.
 9
           46.    Defendant has acted or refused to act in respects generally applicable
10
     to The Classes, thereby making appropriate final and injunctive relief with regard
11
     to the members of the Class as a whole.
12
                                       COUNT I:
13           VIOLATION OF ELECTRONIC FUNDS TRANSFER ACT
14                       ON BEHALF OF THE EFTA CLASS
15         47.    Plaintiff reincorporates by reference all of the preceding paragraphs.
16         48.    Section 907(a) of the EFTA, 15 U.S.C. §1693e(a), provides that a
17   “preauthorized electronic fund transfer from a consumer’s account may be
18   authorized by the consumer only in writing, and a copy of such authorization shall
19   be provided to the consumer when made.”
20         49.    Section 903(9) of the EFTA, 15 U.S.C. § 1693a(9), provides that the
21   term “preauthorized electronic fund transfer” means “an electronic fund transfer
22   authorized in advance to recur at substantially regular intervals.”
23         50.    Section 205.l0(b) of Regulation E, 12 C.F.R. § 205.l0(b), provides that
24   “[p]reauthorized electronic fund transfers from a consumer’s account may be
25
     authorized only by a writing signed or similarly authenticated by the consumer.
26
     The person that obtains the authorization shall provide a copy to the consumer.”
27
           51.    Section 205.10(b) of the Federal Reserve Board's Official Staff
28



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 1   Commentary to Regulation E, 12 C.F.R. § 205.l0(b), Supp. I, provides that “[t]he
 2   authorization process should evidence the consumer’s identity and assent to the
 3   authorization.” Id. at ¶10(b), comment 5. The Official Staff Commentary further
 4   provides that “[a]n authorization is valid if it is readily identifiable as such and the
 5   terms of the preauthorized transfer are clear and readily understandable.” Id. at
 6
     ¶10(b), comment 6.
 7
           52.    Defendant debited Plaintiff’s and also the putative Class members’
 8
     bank accounts on a recurring basis without obtaining a written authorization signed
 9
     or similarly authenticated for preauthorized electronic fund transfers for the rates
10
     charged from Plaintiff’s and also the putative Class members’ accounts, thereby
11
     violating Section 907(a) of the EFTA, 15 U.S.C. § 1693e(a), and Section 205.10(b)
12
     of Regulation E, 12 C.F.R. § 205.l0(b).
13
14
           53.    Defendant has debited Plaintiff’s and also the putative Class

15   members’ bank accounts on a recurring basis without providing a copy of a written

16   authorization signed or similarly authenticated by Plaintiff or the putative Class
17   members for preauthorized electronic fund transfers, thereby violating Section
18   907(a) of the EFTA, 15 U.S.C. § 1693e(a), and Section 205.10(b) of Regulation E,
19   12 C.F.R. § 205.l0(b).
20                            COUNT II:
21        VIOLATION OF BUSINESS AND PROFESSIONS CODE § 17600
           INDIVIDUALLY AND ON BEHALF OF THE CARPS CLASS
22
           54.    Plaintiff incorporates by reference all of the above paragraphs of this
23
     Complaint as though fully stated herein.
24
           55.    California Business & Professions Code § 17602 prohibits a defendant
25
     from failing to present “the automatic renewal offer terms or continuous service
26
27
     offer terms in a clear and conspicuous manner before the subscription or purchasing

28   agreement is fulfilled.”



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 1          56.    Moreover, it is unlawful to “Charge the consumer’s credit or debit
 2   card, or the consumer’s account with a third party, for an automatic renewal or
 3   continuous service without first obtaining the consumer’s affirmative consent to
 4   the agreement.”
 5          57.    By engaging in the conduct as described above, Defendant has
 6
     violated the prohibitions placed on business making automatic renewal offers by
 7
     California Business & Professions Code § 17602.
 8                                    COUNT III:
 9        VIOLATION OF BUSINESS AND PROFESSIONS CODE § 17200
10         INDIVIDUALLY AND ON BEHALF OF THE CAPRS CLASS
11          58.    Plaintiff incorporates by reference all of the above paragraphs of this
12   Complaint as though fully stated herein.
13          59.    Actions for relief under the unfair competition law may be based on
14   any business act or practice that is within the broad definition of the UCL. Such
15   violations of the UCL occur as a result of unlawful, unfair or fraudulent business
16   acts and practices.      A plaintiff is required to provide evidence of a causal
17   connection between a defendant's business practices and the alleged harm--that is,
18   evidence that the defendant's conduct caused or was likely to cause substantial
19
     injury. It is insufficient for a plaintiff to show merely that the defendant's conduct
20
     created a risk of harm. Furthermore, the "act or practice" aspect of the statutory
21
     definition of unfair competition covers any single act of misconduct, as well as
22
     ongoing misconduct.
23
                                             UNFAIR
24
            60.    California Business & Professions Code § 17200 prohibits any
25
     “unfair ...   business    act   or   practice.”    Defendant’s     acts,   omissions,
26
     misrepresentations, and practices as alleged herein also constitute “unfair” business
27
     acts and practices within the meaning of the UCL in that its conduct is substantially
28



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 1   injurious to consumers, offends public policy, and is immoral, unethical,
 2   oppressive, and unscrupulous as the gravity of the conduct outweighs any alleged
 3   benefits attributable to such conduct. There were reasonably available alternatives
 4   to further Defendant’s legitimate business interests, other than the conduct
 5   described herein. Plaintiff reserves the right to allege further conduct which
 6
     constitutes other unfair business acts or practices. Such conduct is ongoing and
 7
     continues to this date.
 8
           61.    In order to satisfy the “unfair” prong of the UCL, a consumer must
 9
     show that the injury: (1) is substantial; (2) is not outweighed by any countervailing
10
     benefits to consumers or competition; and, (3) is not one that consumers themselves
11
     could reasonably have avoided.
12
           62.    Here, Defendant’s conduct has caused and continues to cause
13
14
     substantial injury to Plaintiff and members of the CAPRS Class. Plaintiff and

15   members of the CAPRS Class have suffered injury in fact due to Defendant’s

16   charging auto-renewal charges without clearly and conspicuously disclosing such
17   charges or obtaining consent. Thus, Defendant’s conduct has caused substantial
18   injury to Plaintiff and the members of the CAPRS Class.
19         63.    Moreover, Defendant’s conduct as alleged herein solely benefits
20   Defendant while providing no benefit of any kind to any consumer. Such deception
21   utilized by Defendant converted large sums of money from Plaintiff and CAPRS
22   Class members without clear and conspicuous notice or obtaining express informed
23   consent. This systematic scheme is tantamount to theft. Thus, the injury suffered
24   by Plaintiff and the members of the CAPRS Class is not outweighed by any
25
     countervailing benefits to consumers.
26
           64.    Finally, the injury suffered by Plaintiff and members of the CAPRS
27
     Class is not an injury that these consumers could reasonably have avoided.
28
     Defendant misappropriated funds from Plaintiff and other consumers, and these

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 1   consumers suffered injury in fact due to Defendant’s unexpected autowithdrawals.
 2   As such, Defendant took advantage of Defendant’s position of perceived power in
 3   order to deceive Plaintiff and the CAPRS Class members. Therefore, the injury
 4   suffered by Plaintiff and members of the CAPRS Class is not an injury which these
 5   consumers could reasonably have avoided.
 6
           65.    Thus, Defendant’s conduct has violated the “unfair” prong of
 7
     California Business & Professions Code § 17200.
 8
                                        FRAUDULENT
 9
           66.    California Business & Professions Code § 17200 prohibits any
10
     “fraudulent ... business act or practice.” In order to prevail under the “fraudulent”
11
     prong of the UCL, a consumer must allege that the fraudulent business practice was
12
     likely to deceive members of the public.
13
           67.    The test for “fraud” as contemplated by California Business and
14
15
     Professions Code § 17200 is whether the public is likely to be deceived. Unlike

16   common law fraud, a § 17200 violation can be established even if no one was

17   actually deceived, relied upon the fraudulent practice, or sustained any damage.
18         68.    Here, not only were Plaintiff and the Class members likely to be
19   deceived, but these consumers were actually deceived by Defendant.             Such
20   deception is evidenced by the fact that Defendant had a duty to clearly and
21   conspicuously disclose its automatic renewal terms, failed to do so, and
22   misappropriated significant sums of money from Plaintiff and CAPRS Class
23   members, who reasonably relied on Defendant’s advertising practices which
24   emphasized the “free trial” nature of the transaction, causing considerable actual
25   damages.
26
           69.    Plaintiff’s reliance is reasonable due to the unequal bargaining powers
27
     of Defendant and Plaintiff. For the same reason, it is likely that Defendant’s
28
     fraudulent business practice would deceive other members of the public.


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 1         70.    Defendant’s practices is an unfair, unlawful and fraudulent bait and
 2   switch scheme.
 3         71.    Thus, Defendant’s conduct has violated the “fraudulent” prong of
 4   California Business & Professions Code § 17200.
 5                                          UNLAWFUL
 6         72.    California Business and Professions Code Section 17200, et seq.
 7
     prohibits “any unlawful…business act or practice.”
 8
           73.    As explained above, Defendant deceived Plaintiff and other Class
 9
     Members by deducting unauthorized sums from their accounts under a negative
10
     option scheme.
11
           74.    As explained above, such conduct constitutes an unlawful act under
12
     Cal. Bus. & Prof. Code § 17600, et seq., 15 U.S. Code § 8403, and EFTA.
13
           75.    Defendant’s acts are therefore an “unlawful” business practice or act
14
15
     under Business and Professions Code Section 17200 et seq..

16         76.    Defendant’s conduct caused and continues to cause economic harm to

17   Plaintiff and CAPRS Class Members.
18                                   TRIAL BY JURY
19         77.    Pursuant to the seventh amendment to the Constitution of the United
20   States of America, Plaintiff is entitled to, and demands, a trial by jury.
21                                PRAYER FOR RELIEF
22         WHEREFORE, Plaintiff, JOHN MURRIN individually, and on behalf of all
23   others similarly situated, respectfully request judgment be entered against
24   Defendant, for the following:
25                e. That this action be certified as a class action on behalf of The
26
                      Classes and Plaintiffs be appointed as the representative of The
27
                      Classes;
28
                  f. Statutory damages of $1,000.00, per EFTA Class Member,


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 1            pursuant to the Electronic Fund Transfer Act, §916(a)(2)(A);
 2         g. Actual damages;
 3         h. Restitution of the funds improperly obtained by Defendant;
 4         i. Any and all statutory enhanced damages;
 5         j. All reasonable and necessary attorneys’ fees and costs provided by
 6
              statute, common law or the Court’s inherent power;
 7
           k. For equitable and injunctive and pursuant to California Business
 8
              and Professions Code § 17203 and Cal. Civ. C. § 1780 et. al.;
 9
           l. For prejudgment interest at the legal rate; and
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           m. Any other relief this Honorable Court deems appropriate.
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12
     Respectfully submitted this 1st Day of March, 2024.
13                      LAW OFFICES OF TODD M. FRIEDMAN, P.C.
14
15                      By:   /s/ Todd M. Friedman
16                            Todd M. Friedman
17                            Law Offices of Todd M. Friedman
                              Attorney for Plaintiff
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